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 8
                        UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
     TENLEY HARDIN, individually and ) Case No.
11
     on behalf of all others similarly     )
12   situated,                             ) CLASS ACTION
13                                         )
     Plaintiff,                            ) COMPLAINT FOR VIOLATIONS
14                                         ) OF:
15          vs.                            )
                                           ) 1. NEGLIGENT VIOLATIONS OF
16                                              THE TELEPHONE CONSUMER
                                           )    PROTECTION ACT [47 U.S.C.
17   QUICK CAPITAL FUNDING, LLC )               §227 ET SEQ.]
     and DOES 1 through 10, inclusive, and ) 2. WILLFUL VIOLATIONS OF THE
18                                              TELEPHONE CONSUMER
     each of them,                         )    PROTECTION ACT [47 U.S.C.
19                                         )    §227 ET SEQ.]
20   Defendants.                           )
                                           ) DEMAND FOR JURY TRIAL
21
                                           )
22
23         Plaintiff, TENLEY HARDIN (“Plaintiff”), individually and on behalf of all

24   others similarly situated, allege the following upon information and belief based

25   upon personal knowledge:

26
                                NATURE OF THE CASE

27
           1.    Plaintiff brings this action individually and others similarly situated

28
     seeking damages and any other available legal or equitable remedies resulting from



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 1   the illegal actions of QUICK CAPITAL FUNDING, LLC (“Defendant”), in
 2   negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular
 3   telephone in violation of the Telephone Consumer Protection Act, 47. U.S.C. § 227
 4   et seq. (“TCPA”), thereby invading Plaintiff’ privacy.
 5
 6                              JURISDICTION & VENUE
 7         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 8   resident of California, seek relief on behalf of a Class, which will result in at least
 9   one class member belonging to a different state than that of Defendant, a company
10   with its principal place of business and State of Incorporation in California state.
11   Plaintiff also seeks up to $1,500.00 in damages for each call in violation of the
12   TCPA, which, when aggregated among a proposed class in the thousands, exceeds
13   the $5,000,000.00 threshold for federal court jurisdiction. Therefore, both diversity
14   jurisdiction and the damages threshold under the Class Action Fairness Act of 2005
15   (“CAFA”) are present, and this Court has jurisdiction.
16         3.       Venue is proper in the United States District Court for the Central
17   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
18   because Defendant does business within the state of California and Plaintiff resides
19   within this District.
20                                        PARTIES
21         4.     Plaintiff, TENLEY HARDIN (“Plaintiff”), is a natural person residing

22   in Venice, California and is a “person” as defined by 47 U.S.C. § 153 (39).

23         5.     Defendant, QUICK CAPITAL FUNDING, LLC (“Defendant”), is a

24
     marketing company and is a “person” as defined by 47 U.S.C. § 153 (39).

25
           6.     The above named Defendant, and its subsidiaries and agents, are

26
     collectively referred to as “Defendants.” The true names and capacities of the

27
     Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
     currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
28



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 1   names. Each of the Defendants designated herein as a DOE is legally responsible
 2   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 3   Complaint to reflect the true names and capacities of the DOE Defendants when
 4   such identities become known.
 5         7.     Plaintiff are informed and believe that at all relevant times, each and
 6   every Defendant was acting as an agent and/or employee of each of the other
 7   Defendants and was acting within the course and scope of said agency and/or
 8   employment with the full knowledge and consent of each of the other Defendants.
 9   Plaintiff are informed and believe that each of the acts and/or omissions complained
10   of herein was made known to, and ratified by, each of the other Defendants.
11                             FACTUAL ALLEGATIONS
12         8.     Beginning in or around April 2018, Defendant contacted Plaintiff on
13   his cellular telephone, number ending in -2480, in an effort to sell or solicit its
14   services.
15         9.     Defendant called Plaintiff multiple times.
16         10.    Defendant’s calls constituted calls that were not for emergency
17   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
18         11.    Defendant’s calls were placed to telephone number assigned to a
19   cellular telephone service for which Plaintiff incur a charge for incoming calls
20   pursuant to 47 U.S.C. § 227(b)(1).
21         12.    Plaintiff is not a customer of Defendant’s services and has never

22   provided any personal information, including his cellular telephone numbers, to

23   Defendant for any purpose whatsoever. In addition, Plaintiff told Defendant at

24
     least once to stop contacting them and Plaintiff has been registered on the Do-Not-

25
     Call Registry for at least thirty (30) days prior to Defendant contacting him.

26
     Accordingly, Defendant never received Plaintiff’ “prior express consent” to receive

27
     calls using an automatic telephone dialing system or an artificial or prerecorded
     voice on their cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
28



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 1                                CLASS ALLEGATIONS
 2         13.    Plaintiff bring this action on behalf of themselves and all others
 3   similarly situated, as a member of the proposed class (hereafter “The Class”)
 4   defined as follows:
 5
 6
                  All persons within the United States who received any
                  telephone calls from Defendant to said person’s cellular
 7                telephone made through the use of any automatic
 8                telephone dialing system or an artificial or prerecorded
                  voice and such person had not previously consented to
 9                receiving such calls within the four years prior to the
10                filing of this Complaint
11
           14.    Plaintiff represent, and are members of, The Class, consisting of All
12
     persons within the United States who received any telephone calls from Defendant
13
     to said person’s cellular telephone made through the use of any automatic telephone
14
     dialing system or an artificial or prerecorded voice and such person had not
15
     previously not provided their cellular telephone number to Defendant within the
16
     four years prior to the filing of this Complaint.
17
           15.    Defendant, its employees and agents are excluded from The Class.
18
     Plaintiff do not know the number of members in The Class, but believes the Class
19
     members number in the thousands, if not more. Thus, this matter should be
20
     certified as a Class Action to assist in the expeditious litigation of the matter.
21
           16.    The Class is so numerous that the individual joinder of all of its
22
     members is impractical. While the exact number and identities of The Class
23
     members are unknown to Plaintiff at this time and can only be ascertained through
24
     appropriate discovery, Plaintiff are informed and believe and thereon allege that
25
     The Class includes thousands of members. Plaintiff allege that The Class members
26
     may be ascertained by the records maintained by Defendant.
27
           17.    Plaintiff and members of The Class were harmed by the acts of
28
     Defendant in at least the following ways: Defendant illegally contacted Plaintiff


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 1   and Class members via their cellular telephones thereby causing Plaintiff and Class
 2   members to incur certain charges or reduced telephone time for which Plaintiff and
 3   Class members had previously paid by having to retrieve or administer messages
 4   left by Defendant during those illegal calls, and invading the privacy of said
 5   Plaintiff and Class members.
 6            18.   Common questions of fact and law exist as to all members of The
 7   Class which predominate over any questions affecting only individual members of
 8   The Class. These common legal and factual questions, which do not vary between
 9   Class members, and which may be determined without reference to the individual
10   circumstances of any Class members, include, but are not limited to, the following:
11
                    a.    Whether, within the four years prior to the filing of this
12
                          Complaint, Defendant made any call (other than a call made for
13                        emergency purposes or made with the prior express consent of
14                        the called party) to a Class member using any automatic
                          telephone dialing system or any artificial or prerecorded voice
15                        to any telephone number assigned to a cellular telephone
16                        service;
                    b.    Whether Plaintiff and the Class members were damages
17
                          thereby, and the extent of damages for such violation; and
18                  c.    Whether Defendant should be enjoined from engaging in such
19
                          conduct in the future.

20
              19.   As persons that received numerous calls from Defendant using an
21
     automatic telephone dialing system or an artificial or prerecorded voice, without
22
     Plaintiff’ prior express consent, Plaintiff are asserting claims that are typical of The
23
     Class.
24
              20.   Plaintiff will fairly and adequately protect the interests of the members
25
     of The Class. Plaintiff have retained attorneys experienced in the prosecution of
26
     class actions.
27
              21.   A class action is superior to other available methods of fair and
28
     efficient adjudication of this controversy, since individual litigation of the claims


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 1   of all Class members is impracticable. Even if every Class member could afford
 2   individual litigation, the court system could not. It would be unduly burdensome
 3   to the courts in which individual litigation of numerous issues would proceed.
 4   Individualized litigation would also present the potential for varying, inconsistent,
 5   or contradictory judgments and would magnify the delay and expense to all parties
 6   and to the court system resulting from multiple trials of the same complex factual
 7   issues. By contrast, the conduct of this action as a class action presents fewer
 8   management difficulties, conserves the resources of the parties and of the court
 9   system, and protects the rights of each Class member.
10         22.    The prosecution of separate actions by individual Class members
11   would create a risk of adjudications with respect to them that would, as a practical
12   matter, be dispositive of the interests of the other Class members not parties to such
13   adjudications or that would substantially impair or impede the ability of such non-
14   party Class members to protect their interests.
15         23.    Defendant has acted or refused to act in respects generally applicable
16   to The Class, thereby making appropriate final and injunctive relief with regard to
17   the members of the California Class as a whole.
18
                             FIRST CAUSE OF ACTION
19
            Negligent Violations of the Telephone Consumer Protection Act
20                               47 U.S.C. §227 et seq.
21         24.    Plaintiff repeat and incorporate by reference into this cause of action
22   the allegations set forth above at Paragraphs 1-25.
23         25.    The foregoing acts and omissions of Defendant constitute numerous
24   and multiple negligent violations of the TCPA, including but not limited to each
25   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
26         26.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
27   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
28   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).



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 1          27.    Plaintiff and the Class members are also entitled to and seek
 2   injunctive relief prohibiting such conduct in the future.
 3
 4                       SECOND CAUSE OF ACTION
     Knowing and/or Willful Violations of the Telephone Consumer Protection Act
 5                            47 U.S.C. §227 et seq.
 6          28.    Plaintiff repeat and incorporate by reference into this cause of action
 7   the allegations set forth above at Paragraphs 1-29.
 8          29.    The foregoing acts and omissions of Defendant constitute numerous
 9   and multiple knowing and/or willful violations of the TCPA, including but not
10   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
11   seq.
12          30.    As a result of Defendant’s knowing and/or willful violations of 47
13   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
14   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
15   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
16          31.    Plaintiff and the Class members are also entitled to and seek
17   injunctive relief prohibiting such conduct in the future.
18                                 PRAYER FOR RELIEF
19    WHEREFORE, Plaintiff request judgment against Defendant for the following:
20
                             FIRST CAUSE OF ACTION
21          Negligent Violations of the Telephone Consumer Protection Act
22                               47 U.S.C. §227 et seq.
                As a result of Defendant’s negligent violations of 47 U.S.C.
23
                 §227(b)(1), Plaintiff and the Class members are entitled to and
24               request $500 in statutory damages, for each and every violation,
25
                 pursuant to 47 U.S.C. 227(b)(3)(B); and

26                 Any and all other relief that the Court deems just and proper.
27
28   ///


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 1
                          SECOND CAUSE OF ACTION
 2   Knowing and/or Willful Violations of the Telephone Consumer Protection Act
 3                              47 U.S.C. §227 et seq.
               As a result of Defendant’s willful and/or knowing violations of 47
 4
                U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
 5              and request treble damages, as provided by statute, up to $1,500, for
 6              each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
                U.S.C. §227(b)(3)(C); and
 7
 8               Any and all other relief that the Court deems just and proper.
 9
     Respectfully Submitted this 27st Day of August, 2018.
10
                                     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
11
12
                                      By: /s/ Todd M. Friedman
13                                        Todd M. Friedman
14                                        Law Offices of Todd M. Friedman
                                          Attorney for Plaintiff
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